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 1                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2

 3   ROLANDO CAMUNAS,                               )
                                                    ) Case No.: 2:21-cv-01005-ER
 4                  Plaintiff,                      )
                                                    )
 5          v.                                      )
                                                    )
 6   NATIONAL REPUBLICAN                            ) AMENDED COMPLAINT AND
     SENATORIAL COMMITTEE,                          ) DEMAND FOR JURY TRIAL
 7                                                  )
                   Defendant.                       )
 8

 9
                                       AMENDED COMPLAINT
10
            ROLANDO CAMUNAS (“Plaintiff”), by and through his attorneys, KIMMEL &
11
     SILVERMAN, P.C., alleges the following against NATIONAL REPUBLICAN SENATORIAL
12
     COMMITTEE (“Defendant” or “NRSC”):
13
                                           INTRODUCTION
14

15
            1.      Plaintiff’s Amended Complaint is based on the Telephone Consumer Protection

16   Act (“TCPA”), 47 U.S.C. § 227 et seq.

17                                   JURISDICTION AND VENUE

18          2.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See Mims v.

19   Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
20
            3.      Defendant conducts business in the Commonwealth of Pennsylvania.
21
            4.      Plaintiff resides in the Commonwealth of Pennsylvania.
22
            5.      The acts and omissions described herein occurred primarily in the
23
     Commonwealth of Pennsylvania.
24
            6.      Accordingly, personal jurisdiction is established.
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                                                     1

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            7.      Plaintiff resides in Philadelphia and received the unwanted text messages in
 1
        Philadelphia on his (215) area cell phone.
 2

 3          8.      Accordingly, Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

 4

 5                                                PARTIES

 6          9.      Plaintiff is a natural person residing in Philadelphia, Pennsylvania.
 7          10.     Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
 8
            11.     Defendant is a corporation that has its headquarters located at 425 2ND Street NE,
 9
     Washington, DC 20002.
10
            12.     Defendant is a “person” as that term is defined by 47 U.S.C. §153(39).
11
            13.     Defendant acted through its agents, employees, officers, members, directors,
12
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
13

14
                                       FACTUAL ALLEGATIONS
15

16          14.     Plaintiff’s cell phone number, 215-XXX-5091 has been on the FTC’s federal Do

17   Not Call Registry since June 19, 2015.

18          15.     Plaintiff placed his cell phone number on the Do Not Call registry due to his

19   desire for solitude and a desire to be free of unwanted calls and text messages.
20          16.     Defendant NRSC is a political organization that raises money for Republican
21
     Senatorial candidates.
22
            17.     Defendant has devised and implemented a campaign fundraising strategy which
23
     includes the transmission of text messages to prospective donors.
24
            18.     Plaintiff never consented to receive text messages from the NRSC.
25



                                                       2

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             19.      Despite the fact that Plaintiff’s cell phone number had been registered on the Do
 1
     Not Call list since 2015, and despite the fact that Plaintiff never consented for the NRSC to call
 2

 3   or text him, Defendant placed a series of harassing and intrusive calls seeking to raise money for

 4   political candidates in or around September 2020.

 5           20.      Specifically, Defendant sent text messages to Plaintiff’s cell phone for the

 6   purpose of soliciting campaign donations at dates/times including but not limited to:
 7                            09/09/2020 at 6:43 pm EST;
 8
                              09/10/2020 at 1:57 pm EST;
 9
                              09/12/2020 at 2:37 pm EST;
10
                              09/15/2020 at 5:57 pm EST;
11
                              09/17/2020 at 4:11 pm EST; and
12

13
                              09/18/2020 at 1:47 pm EST.

14           21.      Defendant’s text messages were generic and obviously pre-written.

15           22.      On NRSC’s website, the organization concedes that its communications are

16   “recurring autodialed marketing messages.” (See Ex. A, Printout from NRSC’s webpage, p. 6

17   (“By participating, you agree to the terms & privacy policy (55404-info.com) for recurring
18
     autodialed marketing messages from NRSC to the phone number you provide.”)1
19
             23.       Accordingly, the text messages qualify as “calls with a pre-recorded voice” and
20
     calls made with an automatic telephone dialing system under the TCPA.
21
             24.      Plaintiff found the calls to be annoying, disruptive, frustrating and an invasion of
22
     his privacy.
23
             25.      The actions described herein were in violation of the TCPA.
24

25   1
       Again, Plaintiff did not consent to receiving the aforementioned text messages from NRSC prior to the NRSC’s
     issuance of said text messages.

                                                             3

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 1

 2                                              COUNT I
                             Defendants Violated the TCPA 47 U.S.C. § 227(b)
 3
            26.       Plaintiff incorporates the forgoing paragraphs as though the same were set forth at
 4
     length herein.
 5
            27.       The TCPA prohibits placing calls or text messages using an automatic telephone
 6
     dialing system or automatically generated or prerecorded voice to a cellular telephone except
 7

 8   where the caller has the prior express consent of the called party to make such calls or where the

 9   call is made for emergency purposes. 47 U.S.C. § 227(b)(1)(A)(iii).

10          28.       Because a text is a “call’ under the TCPA, by logical extension, a text with a pre-

11   written script is a “call with a pre-recorded voice” under the statute.
12          29.       Defendant sent to Plaintiff text messages with pre-written script.
13
            30.       Upon information and belief, Defendant uses dialing technology, which calls
14
     phone numbers from a stored list using a random or sequential number generator to select those
15
     phone numbers.
16
            31.       Here, Defendant initiated multiple text messages to Plaintiff’s cellular telephone
17
     number using an automatic telephone dialing system.
18
            32.       Defendant’s texts were not made for “emergency purposes.”
19

20
            33.       Defendant’s texts to Plaintiff’s cellular telephones without any prior express

21   consent.

22          23.       Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do

23   Not Call Registry.

24

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                                                       4

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             24.      Defendant’s acts as described above were done with malicious, intentional,
 1
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
 2

 3   purpose of harassing Plaintiff.

 4           25.      The acts and/or omissions of Defendant were done unfairly, unlawfully,

 5   intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,

 6   legal justification or legal excuse.
 7           26.      As a result of the above violations of the TCPA, Plaintiff has suffered the losses
 8
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
 9
     damages.
10
                                               COUNT II
11                           Defendant Violated the TCPA 47 U.S.C. § 227(C)

12           27.      Plaintiff incorporates the forgoing paragraphs as though the same were set forth at

13   length herein.

14           28.      The TCPA prohibits any person or entity of initiating any telephone solicitation to
15
     a residential telephone subscriber who has registered his or his telephone number on the National
16
     Do-Not-Call Registry of persons who do not wish to receive telephone solicitations that is
17
     maintained by the Federal Government. 47 U.S.C. § 227(c).
18
             29.      Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do
19
     Not Call Registry since 2015.
20
             30.      Defendant’s acts as described above were done with malicious, intentional,
21
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
22

23   purpose of harassing Plaintiff.

24

25



                                                       5

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             31.     The acts and/or omissions of Defendant were done unfairly, unlawfully,
 1
     intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,
 2

 3   legal justification or legal excuse.

 4           32.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses

 5   and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles

 6   damages.
 7
             Wherefore, Plaintiff, ROLANDO CAMUNAS, respectfully prays for judgment as
 8
     follows:
 9
                     a.      All actual damages Plaintiff suffered (as provided under 47 U.S.C. §
10
                             227(b)(3)(A));
11
                     b.      Statutory damages of $500.00 per violative telephone call (as provided
12

13                           under 47 U.S.C. § 227(b)(3)(B));

14                   c.      Additional statutory damages of $500.00 per violative telephone call (as

15                           provided under 47 U.S.C. § 227(C);

16                   d.      Treble damages of $1,500.00 per violative telephone call (as provided
17                           under 47 U.S.C. § 227(b)(3));
18
                     e.      Additional treble damages of $1,500.00 per violative telephone call (as
19
                             provided under 47 U.S.C. § 227(C);
20
                     f.      Injunctive relief (as provided under 47 U.S.C. § 227(b)(3) and (c); and
21
                     g.      Any other relief this Honorable Court deems appropriate.
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                                                      6

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                                     DEMAND FOR JURY TRIAL
 1
             PLEASE TAKE NOTICE that Plaintiff, ROLANDO CAMUNAS, demands a jury trial
 2

 3   in this case.

 4

 5                                               RESPECTFULLY SUBMITTED,

 6

 7                                               By: /s/ Jacob U. Ginsburg
       DATED: 04/16/2021
                                                 Amy L. Bennecoff Ginsburg, Esq.
 8
                                                 Jacob U. Ginsburg, Esq.
 9
                                                 Kimmel & Silverman, P.C.
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                                                 teamkimmel@creditlaw.com
13

14

15

16                                     CERTIFICATE OF SERVICE

17           I, Jacob U. Ginsburg, hereby certify that on April 16, 2021 a true and correct copy of the

18   foregoing Amended Complaint was served on all parties of record via ECF.

19

20                                                                /s/ Jacob U. Ginsburg

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                                   PLAINTIFF’S AMENDED COMPLAINT
